


  Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated April 4, 1988 (People v German, 139 AD2d 529 [1988]), determining an appeal from a judgment of the Supreme Court, Queens County, rendered October 15, 1986.
 

  Ordered that the application is denied.
 

  The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745 [1983]; People v Stultz, 2 NY3d 277 [2004]).
 

  Rivera, J.P., Leventhal, Maltese and Duffy, JJ., concur.
 
